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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re                                                    Chapter 11

OPEN ROAD FILMS, LLC, a Delaware                         Case No.: 18-12012 (LSS)
limited liability company, et al.,1
                                                         (Jointly Administered)
                           Debtors.
                                                         Bid Procedures Hearing Date:
                                                         October 2, 2018 at 2:00 p.m. (ET)

                                                         Bid Procedures Objection Deadline:
                                                         September 25, 2018 at 4:00 p.m. (ET)

                                                         Ref. Docket No. 9

                                           NOTICE OF MOTION

TO:     (A) THE U.S. TRUSTEE; (B) COUNSEL TO THE AGENT; (C) HOLDERS OF THE
        FORTY (40) LARGEST UNSECURED CLAIMS ON A CONSOLIDATED BASIS
        AGAINST THE DEBTORS; AND (D) ALL PARTIES THAT, AS OF THE FILING OF
        THIS NOTICE, HAVE REQUESTED NOTICE PURSUANT TO BANKRUPTCY RULE
        2002

               PLEASE TAKE NOTICE that, on September 6, 2018, the above-captioned
debtors and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for
Orders: (A) (I) Establishing Bid and Sale Procedures Relating to the Sale of Substantially All
of the Debtors’ Assets, (II) Authorizing the Debtors to Enter Into an Asset Purchase
Agreement With Stalking Horse Bidder, (III) Establishing and Approving Procedures
Relating to the Assumption, Assignment and Sale of Certain Executory Contracts and
Unexpired Leases, Including Notice of Proposed Cure Amounts and (IV) Scheduling a
Hearing to Consider the Proposed Sale and (B)(I) Approving the Sale of Substantially All of
the Debtors’ Assets, (II) Authorizing the Assumption, Assignment and Sale of Certain
Executory Contracts and Unexpired Leases, and (III) Granting Certain Related Relief [Docket
No. 9] (the “Motion”).

                PLEASE TAKE FURTHER NOTICE that any objections to the Motion as it
pertains to the Debtors’ request for the entry of the Bid Procedures Order (as defined in the
Motion) must be filed on or before September 25, 2018 at 4:00 p.m. (ET) (the “Objection

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    The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
    (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
    LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.




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Deadline”) with the United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824
Market Street, Wilmington, Delaware 19801. At the same time, you must serve a copy of any
objection upon the undersigned proposed counsel to the Debtors so as to be received on or before
the Objection Deadline.

            PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE
MOTION AS IT PERTAINS TO THE DEBTORS’ REQUEST FOR ENTRY OF THE BID
PROCEDURES ORDER WILL BE HELD ON OCTOBER 2, 2018 AT 2:00 P.M. (ET)
BEFORE THE HONORABLE LAURIE SELBER SILVERSTEIN, IN THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET,
6th FLOOR, COURTROOM NO. 2, WILMINGTON, DELAWARE 19801.

           PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND
IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN THE MOTION AS IT PERTAINS TO THE DEBTORS’ REQUEST
FOR ENTRY OF THE BID PROCEDURES ORDER WITHOUT FURTHER NOTICE
OR A HEARING.

Dated: September 7, 2018                                /s/ Robert F. Poppiti, Jr.
                                                Michael R. Nestor, Esq. (Bar No. 3526)
                                                Robert F. Poppiti, Jr., Esq. (Bar No. 5052)
                                                Ian J. Bambrick, Esq. (Bar No. 5455)
                                                YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                Rodney Square
                                                1000 North King Street
                                                Wilmington, Delaware 19801
                                                Tel: (302) 571-6600
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                                                and

                                                Michael L. Tuchin, Esq.
                                                Jonathan M. Weiss, Esq.
                                                Sasha M. Gurvitz, Esq.
                                                KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                                1999 Avenue of the Stars, 39th Floor
                                                Los Angeles, CA 90067
                                                Tel: (310) 407-4000
                                                Fax: (310) 407-9090

                                                Proposed Counsel to Debtors and
                                                Debtors in Possession




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